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Debtor 1                 .HOO\'LDQH+LQHV
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Debtor 2                 _______BB____________BBBBB_______________BBBBBBBBBBBBBBBBBB_BBBBBBBB_
(Spouse, if filing)

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 1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                                                                                                    

 ,IWKHGHEWRU¶VSODQSURYLGHVIRUSD\PHQWRISRVWSHWLWLRQFRQWUDFWXDOLQVWDOOPHQWVRQ\RXUFODLPVHFXUHGE\DVHFXULW\LQWHUHVWLQWKH
 GHEWRU¶VSULQFLSDOUHVLGHQFH\RXPXVWXVHWKLVIRUPWRJLYHQRWLFHRIDQ\FKDQJHVLQWKHLQVWDOOPHQWSD\PHQWDPRXQW)LOHWKLVIRUP
 DVDVXSSOHPHQWWR\RXUSURRIRIFODLPDWOHDVWGD\VEHIRUHWKHQHZSD\PHQWDPRXQWLVGXHSee Bankruptcy Rule 3002.1.
 1DPHRIFUHGLWRU                                                                                                           
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                                                                                                 Must be at least 21 days after date
                                                                                                 of this notice                            
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                                                                                                                                           $____________BBBB
                                                                                                 Principal, interest, and escrow, if any
 /DVWGLJLWVof any number you use to
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            No
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        YDULDEOHUDWHDFFRXQW"
        ✔
            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
             DWWDFKHGH[SODLQZK\



             &XUUHQWLQWHUHVWUDWHBBBBBBBBBBBBBBBBBB                                      1HZLQWHUHVWUDWHBBBBBBBBBBBBBBBBBB

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           ✔
               No
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)
            5HDVRQIRUFKDQJH



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 Official Form 410S1                                                  1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                              page 1

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                     .HOO\'LDQH+LQHV                                                                                       
      Debtor 1       _____BB_________________________________________________                           Case number (LINQRZQ) ______________________
                     First Name          Middle Name         Last Name




 3DUW 6LJQ+HUH


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 &KHFNWKHDSSURSULDWHER[

    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



 ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHLQIRUPDWLRQSURYLGHGLQWKLVFODLPLVWUXHDQGFRUUHFWWRWKHEHVWRIP\NQRZOHGJH
 LQIRUPDWLRQDQGUHDVRQDEOHEHOLHI




 8    /s/Debbie Hernandez
      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      Signature
                                                                                    06/04/2020
                                                                            'DWHBBBBBBBBBBBBBBB




 Print:BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        HERNANDEZ,DEBBIE                                                                         VP Loan Documentation
                                                                                                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        First Name                Middle Name               Last Name              7LWOH


 Company Wells Fargo Bank, N.A.
         _B____________________BB____________________________________

 Address    MAC N9286-01Y
            ___________________________B_________BB______BB______________
            Number                       Street

            1000 Blue Gentian Road
            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
            $GGUHVV

             Eagan                                   MN      55121-7700
            BBBB_______________________________________________BBBBBBBB__
              City                                                     State      ZIPCode



                     800-274-7025                                                                NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone BBBBBBBBBBBBBBBBBBBBBBBBB                                                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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Official Form 410S1                                                     1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                                page 


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                     UNITED STATES BANKRUPTCY COURT
                                                        Northern District of Ohio


                                                   Chapter 13 No. 17-41639
                                                   Judge: RUSS KENDIG

In re:
Kelly Diane Hines
                                          Debtor s 

                                          CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before June 05, 2020 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                            %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                    Kelly Diane Hines
                                    3046 Aris Street NW

                                    Warren OH 44485



                                   %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                    N/A




Debtor’s Attorney:                 %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                    Robert A. Ciotola

                                    3701 Boardman Canfield Road Unit 1

                                    Canfield OH 44406


                                   %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                    N/A




Trustee:                           %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                    Michael A. Gallo

                                    5048 Belmont Avenue

                                    Youngstown OH 44505

                                                          @@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
                                                          /s/Debbie Hernandez
                                                           VP Loan Documentation
                                                           Wells Fargo Bank, N.A.
           17-41639-tnap        Doc       FILED 06/04/20            ENTERED 06/04/20 12:04:04              Page 3 of 7
                                                                                           Escrow Review Statement
                                    Return Mail Operations
                                                                                           For informational purposes only
                                    PO Box 14547
                                    Des Moines, IA 50306-4547                              Statement Date:                                    May 6, 2020
                                                                                           Loan number:
                                                                                           Property address:
                                                                                               3046 ARIS ST NW
                                                                                               WARREN OH 44485-1601



                                                                                           Customer Service
                                                                                                Online                          Telephone
                                                                                                wellsfargo.com                  1-800-340-0473
             KELLY D HINES
                                                                                                Correspondence                  Hours of operation
             3046 ARIS ST NW                                                                    PO Box 10335                    Mon - Fri 7 a.m. - 7 p.m. CT
             WARREN OH 44485                                                                    Des Moines, IA 50306
                                                                                                To learn more, go to:
                                                                                                wellsfargo.com/escrow


                                                                                                  We accept telecommunications relay service calls



   PLEASE NOTE: If you are presently seeking relief (or have previously been granted
   relief) under the United States Bankruptcy Code, this statement is being sent to you
   for informational purposes only. The summaries below are based on the terms of the
   loan and are provided for informational purposes only.

   These amounts are governed by the terms of the loan unless otherwise reduced by an
   order of the bankruptcy court. Because the amounts billed for the escrow items can
   change over time, we review the escrow account at least once per year to ensure there
   will be enough money to make these payments. Once the review is complete, we send
   the escrow review statement, also known as the escrow account disclosure statement.
                                                                                            The escrow account has an overage of
   Here’s what we found:                                                                                  $56.07
     • Required minimum balance: The escrow account balance is projected to be
        above the required minimum balance. This means there is an overage.

   If payments required under the bankruptcy plan have not been made, any escrow
   overage will be held in the escrow account.

     •   Payments: As of the July 1, 2020 payment, the contractual portion of the
         escrow payment increases.



     Part 1 - Mortgage payment
      New Payment                   The new total payment will be $473.36
                                     Previous payment through New payment beginning with
                                     06/01/2020 payment date   the 07/01/2020 payment

    Principal and/or interest                  $314.30                   $314.30                        No action required
    Escrow payment                              $156.65                  $159.06
                                                                                            Starting July 1, 2020 the new contractual
    Total payment amount                      $470.95                   $473.36             payment amount will be $473.36




   See Page 2 for additional details.




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                                                                                                                         Loan Number:


    Part 2 - Payment calculations
   For the past review period, the amount of the escrow items was $1,907.38. For the coming year, we expect the amount paid from escrow to be
   $1,908.70.

   How was the escrow payment calculated?
   To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
   escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the amounts by 12 payments to
   determine the escrow amount.

   The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods up
   through the date of the analysis.



   Escrow comparison

                                                                                                                                          New monthly
                                      09/17 - 08/18     07/18 - 06/19       07/19 - 05/20    07/20 - 06/21
                                                                                                                         # of               escrow
                                        (Actual)          (Actual)            (Actual)        (Projected)
                                                                                                                        months              amount

   Property taxes                            $727.06           $732.84           $739.94          $741.26        ÷         12       =            $61.77
   Property insurance                      $1,299.06          $1,299.06         $1,167.44        $1,167.44       ÷         12       =           $97.29
   Total taxes and insurance               $2,026.12         $2,031.90          $1,907.38       $1,908.70        ÷         12       =          $159.06

   Total escrow                            $2,026.12         $2,031.90          $1,907.38       $1,908.70                                      $159.06


   Projected escrow account activity over the next 12 months
   To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
   greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
   balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:


                                                                                                     (Calculated in Part 3 - Escrow account projections
   Lowest projected escrow balance July, 2020                                     $354.09            table)

   Bankruptcy adjustment‡                                              +            $20.10

   Minimum balance for the escrow account†                              -          $318.12           (Calculated as: $159.06 X 2 months)


   Escrow overage                                                      =            $56.07


   ‡
    This adjustment of $20.10, is the remaining amount of the pre-petition escrow shortage included in our proof of claim being paid through the
   confirmed bankruptcy plan.
   †
    The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance. To calculate the cash reserve for the escrow
   account, we add the yearly escrow payments, and divide by 12. We take this amount and multiply it by 2 as allowed by state laws and/or the mortgage
   contract to determine the cash reserve.




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                                                                                                                             Loan Number:



     Part 3 - Escrow account projections
   Escrow account projections from July, 2020 to June, 2021
                                           What we
                 Payments to               expect to                                                                Projected escrow        Balance required
   Date            escrow                   pay out        Description                                                  balance              in the account
   Jun 2020                                                Starting balance                                               $1,733.10                   $1,697.13
   Jul 2020           $159.06                  $370.63     TRUMBULL CNTY TREASURER                                        $1,521.53                   $1,485.56
   Jul 2020              $0.00                $1,167.44     ALLSTATE EDI ONLY                                             $354.09                      $318.12
   Aug 2020           $159.06                    $0.00                                                                     $513.15                     $477.18
   Sep 2020           $159.06                    $0.00                                                                     $672.21                     $636.24
   Oct 2020           $159.06                    $0.00                                                                     $831.27                     $795.30
   Nov 2020           $159.06                    $0.00                                                                     $990.33                     $954.36
   Dec 2020           $159.06                    $0.00                                                                    $1,149.39                   $1,113.42
   Jan 2021           $159.06                    $0.00                                                                   $1,308.45                    $1,272.48
   Feb 2021           $159.06                  $370.63     TRUMBULL CNTY TREASURER                                       $1,096.88                    $1,060.91
   Mar 2021           $159.06                    $0.00                                                                    $1,255.94                   $1,219.97
   Apr 2021           $159.06                    $0.00                                                                    $1,415.00                   $1,379.03
   May 2021           $159.06                    $0.00                                                                    $1,574.06                   $1,538.09
   Jun 2021           $159.06                    $0.00                                                                    $1,733.12                   $1,697.15

   Totals           $1,908.72                 $1,908.70



     Part 4 - Escrow account history
   Escrow account activity from July, 2019 to June, 2020
                         Deposits to escrow                   Payments from escrow                                                    Escrow balance
      Date      Actual      Projected Difference          Actual   Projected Difference            Description            Actual         Projected Difference
   Jul 2019                                                                                    Starting Balance             $424.28       $1,667.19      -$1,242.91
                                                                                               TRUMBULL CNTY TREASURER
   Jul 2019       $167.05        $156.65       $10.40      $369.31        $369.31     $0.00                                 $222.02       $1,454.53      -$1,232.51

   Jul 2019        $0.00          $0.00         $0.00     $1,167.44      $1,141.23    $26.21 ALLSTATE EDI ONLY             -$945.42        $313.30       -$1,258.72

   Aug 2019       $167.05        $156.65       $10.40        $0.00            $0.00   $0.00                                -$778.37        $469.95       -$1,248.32

   Sep 2019        $0.00         $156.65      -$156.65       $0.00            $0.00   $0.00                                -$778.37        $626.60       -$1,404.97

   Oct 2019       $167.05        $156.65       $10.40        $0.00            $0.00   $0.00                                -$611.32        $783.25       -$1,394.57

   Nov 2019       $167.05        $156.65       $10.40        $0.00            $0.00   $0.00                                -$444.27        $939.90       -$1,384.17

   Dec 2019       $167.05        $156.65       $10.40        $0.00            $0.00   $0.00                                -$277.22       $1,096.55      -$1,373.77

   Jan 2020       $334.10        $156.65       $177.45       $0.00            $0.00   $0.00                                  $56.88       $1,253.20      -$1,196.32
                                                                                               TRUMBULL CNTY TREASURER
   Feb 2020       $323.70        $156.65      $167.05      $370.63        $369.31      $1.32                                  $9.95      $1,040.54       -$1,030.59

   Mar 2020       $313.30        $156.65      $156.65        $0.00            $0.00   $0.00                                 $323.25       $1,197.19        -$873.94

   Apr 2020       $156.65        $156.65        $0.00        $0.00            $0.00   $0.00                                 $479.90       $1,353.84        -$873.94

   May 2020     $1,096.55        $156.65      $939.90        $0.00            $0.00   $0.00                               $1,576.45       $1,510.49         $65.96
   (estimate)

   Jun 2020       $156.65        $156.65        $0.00        $0.00            $0.00   $0.00                                $1,733.10      $1,667.14         $65.96
   (estimate)

   Totals       $3,216.20     $1,879.80     $1,336.40     $1,907.38    $1,879.85      $27.53




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   reserved. NMLSR ID 399801 9/19



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